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                                                          NEW YORK          CALIFORNIA         D E L AW A R E       P E N N S Y LVA N I A       GEORGIA




           TIMOTHY J. PETER
           tpeter@faruqilaw.com

           November 2, 2018

           Via ECF

           Honorable P. Kevin Castel
           United States District Judge, Southern District of New York
           Daniel Patrick Moynihan United States Courthouse
           500 Pearl Street
           Courtroom 11D
           New York, NY 10007

                    Re: Alexandria Rudolph v. Hudson’s Bay Co., et al., No. 1:18 cv 8472(PKC)

           Dear Judge Castel:

                   I represent Plaintiff Alexandria Rudolph and the putative class in the above-titled matter. I
           write in response to your Honor’s Endorsed Memo Order entered on October 25, 2018, directing
           Plaintiff to state whether she wishes to further amend her complaint to address the issues raised by
           Defendants in their pre-motion letter dated October 18, 2018.

                   Plaintiff respectfully submits that she wishes to amend her complaint. The Parties have met
           and conferred, and Defendants have no objection to Plaintiff filing an amended complaint. In terms
           of Defendants’ response, the Parties are still prepared to proceed with the dates previously
           stipulated to and set by the Court in its September 28, 2018 Order in regard to the motion to
           dismiss, that I understand Defendants still intend to pursue:

                    Initial Pre-Trial Conference: November 19, 2018

                    Motion and Opening Brief Due: December 5, 2018

                    Opposition to Motion Due: January 3, 2019

                    Reply in Support of Motion Due: January 22, 2019

                  Accordingly, Plaintiff respectfully requests the Court set a date by which Plaintiff shall file
           an amended complaint, before the November 19 Initial Pre-Trial Conference. The Parties look
           forward to discussing any other matters raised by the pre-motion letters at the November 19
           conference.




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           Respectfully submitted,

           /s/ Timothy J. Peter
           Timothy J. Peter

           cc:      All counsel of record (via ECF)




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